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IN THE UNITED STATES DISTRICT COURT >
FOR THE DISTRICT OF PUERTO RICO (@

UNITED STATES OF AMERICA INFORMATION ie MAR, By ‘ Vv
v. CASE NO.: 25- Cy “OCS” (yk
MADDEN LAI, VIOLATION:
Defendant. 18 U.S.C. § 922(e)
ONE COUNT

THE UNITED STATES CHARGES:

COUNT ONE
Willful Delivery of Firearm and Ammunition to Common Carrier without Written Notice
(18 U.S.C. § 922(e))

On or about February 2, 2025, in the District of Puerto Rico and within the jurisdiction of
this Court, the defendant,
MADDEN LAI,
knowingly delivered to Frontier Airlines, a common carrier, for transportation or shipment in
interstate commerce, a package or container in which there was a firearm, specifically a SAR
Firearms, Model SARB6P, 9mm caliber, bearing serial number T1102-12E00198, and 11 rounds
of 9mm caliber ammunition, without written notice to the carrier. All in violation of 18 U.S.C. §§

922(e) and 924(a)(1)(D).

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FIREARMS AND AMMUNITION FORFEITURE ALLEGATION

The allegations contained in this Indictment are hereby re-alleged and incorporated by
reference for the purpose of alleging forfeitures pursuant to 18 U.S.C. § 924(d) and 28 U.S.C.
§ 2461(c). Upon conviction of the offense set forth in Count One of this Indictment, the defendant,

MADDEN LAJ,
shall forfeit to the United States pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), any
firearms and ammunition involved or used in the commission of the offense, including, but not
limited to: SAR Firearms, Model SARBOP, 9mm caliber, bearing serial number T1102-12E00198,

and 11 rounds of 9mm caliber ammunition.

W. STEPHEN MULDROW
United States Attorney

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Jeanette M. Collazo-Ortfz—— Aalian N. Radzinschi
Assistant U.S. Attorney Assistant U.S. Attorney

Deputy Chief, Violent Crimes Unit
